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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )      No. 17 CR 239-1
        Plaintiff,                             )
                                               )
        V.                                     )      Judge Thomas M. Durkin
                                               )
JESSICA ARONG O’BRIEN,                         )
                                               )
        Defendant.                             )

                          MEMORANDUM OPINION & ORDER

        A jury convicted defendant Jessica Arong O’Brien of mail fraud affecting a

financial institution in violation of 18 U.S.C. § 1341 (Count I) and bank fraud in

violation of 18 U.S.C. § 1344 (Count II). Before the Court are O’Brien’s consolidated

post-trial motions for a judgment of acquittal or, alternatively, for a new trial [277].1

Also before the Court are several motions made by O’Brien during trial that the

Court took under advisement: O’Brien’s motion for judgment of acquittal filed at the

close of the government’s case [225], and O’Brien’s oral motions for a directed

verdict at the close of the evidence and following the jury charge (see R. 230). For

the reasons explained below, the Court denies O’Brien’s motions.




1      O’Brien filed over 100 pages of briefing on her post-trial motions, much of
which repeats arguments already dealt with in the Court’s opinions on O’Brien’s
five pre-trial motions to dismiss and to strike (R. 45; R. 131; R. 139; R. 141; R. 214).
The Court nevertheless addresses those arguments again here.
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I.       Motion for Judgment of Acquittal

         A.    Standard

         Federal Rule of Criminal Procedure 29(a) provides that “the court on the

defendant’s motion must enter a judgment of acquittal on any offense for which the

evidence is insufficient to sustain a conviction.” “In challenging the sufficiency of

the evidence, [a defendant] bears a heavy, indeed, nearly insurmountable,

burden.” United States v. Warren, 593 F.3d 540, 546 (7th Cir. 2010). The reviewing

court will view the “evidence in the light most favorable to the prosecution,” and the

defendant “must convince [the court] that even after viewing the evidence in the

light most favorable to the prosecution, no rational trier of fact could have found

h[er] guilty beyond a reasonable doubt.’” Warren, 593 F.3d at 546. In other words, a

court will “set aside a jury’s guilty verdict only if the record contains no evidence,

regardless of how it is weighed, from which a jury could have returned a

conviction.” United States v. Presbitero, 569 F.3d 691, 704 (7th Cir. 2009).

         Thus, under Rule 29, courts “do not reassess the weight of the evidence or

second-guess the trier of fact’s credibility determinations.” United States v.

Arthur, 582 F.3d 713, 717 (7th Cir. 2009). This strict standard is a recognition that

“[s]orting the facts and inferences is a task for the jury.” Warren, 593 F.3d at 547.

At the same time, “[a] Rule 29 motion calls on the court to distinguish between

reasonable inferences and speculation.” United States v. Jones, 713 F.3d 336, 340

(7th Cir. 2013). “[W]here the evidence as to an element of a crime is equally

consistent with a theory of innocence as a theory of guilt, that evidence necessarily



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fails to establish guilt beyond a reasonable doubt.” United States v. Harris, 942 F.2d

1125, 1129-30 (7th Cir. 1991).

        B.    Application2

        O’Brien’s motion for judgment of acquittal makes numerous arguments. To

begin, she challenges two aspects of the “scheme to defraud” element of both Counts

I and II: (1) the sufficiency of the evidence to support the jury’s finding of a scheme,

and (2) whether the scheme alleged in the indictment materially and prejudicially

varied from the scheme proven at trial. O’Brien also makes two arguments related

to the “affect[ing] a financial institution” element that the government needed to

prove in order for Count I (mail fraud) to fall within the ten-year statute of

limitations under 18 U.S.C. § 3293(2) and therefore be timely: (1) she challenges the

sufficiency of the government’s proof that the scheme affected a financial

institution; and (2) she challenges whether “affect[ing] a financial institution” is

unconstitutionally vague. Finally, O’Brien maintains that the evidence on Count II

(bank fraud) was insufficient to show intent on the part of O’Brien or that O’Brien

caused the execution for which the jury convicted her.

              1.    “Scheme to Defraud” Element Of Both Counts

                    a.     Sufficiency Of The Evidence

        O’Brien first argues that the Court should acquit her on both counts because

no rational jury could have concluded that she engaged in a scheme to defraud—an

2      O’Brien’s newly retained counsel asks the Court to “keep in mind” when
deciding the motion for acquittal what he characterizes as numerous errors on the
part of O’Brien’s trial counsel. R. 277 at 6 n.5. As O’Brien’s new counsel recognizes,
however, “now is not the time to raise an ineffective assistance claim.” Id.

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element of both mail fraud under 18 U.S.C. § 1341 and bank fraud under 18 U.S.C.

§ 1344. “As its ordinary meaning suggests, the term ‘scheme to defraud’ describes a

broad range of conduct.” United States v. Doherty, 969 F.2d 425, 429 (7th Cir. 1992).

A scheme is generally understood to be a “‘continuing course of conduct, during a

discrete period of time.’” United States v. Davis, 471 F.3d 783, 790 (7th Cir. 2006)

(quoting United States v. Berardi, 675 F.2d 894, 898 (7th Cir. 1982)).

      O’Brien’s argument on this issue largely rehashes points made in her pre-

trial motion to dismiss the indictment on duplicity grounds. In its ruling denying

that motion, this Court explained in detail why the conduct alleged in the

indictment constituted a scheme. R. 116. The Court assumes general familiarity

with that opinion but reiterates key points here, along with the relevant

background.

      The indictment against O’Brien and her co-defendant Maria Bartko (who

pleaded guilty prior to trial (see R. 197, 205)), alleged a scheme comprised of four

sets of transactions: (1) in 2004, O’Brien “fraudulently obtained mortgage loan

proceeds to purchase an investment property located at 625 West 46th Street” in

Chicago, Illinois (“the 46th Street property”) by submitting mortgage documents

with false statements regarding her income and liabilities (“the 2004 transactions”);

(2) in 2005, O’Brien, with Bartko as the loan originator, “fraudulently refinanced

her mortgage loans on the 46th Street property and on a second investment

property located at 823 West 54th Street,” also in Chicago, Illinois (“the 54th Street

property”) by submitting applications with false statements regarding O’Brien’s



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income and employment (“the 2005 transactions”); (3) in 2006, O’Brien

“fraudulently obtained a commercial line of credit” by submitting an application

with false statements about her realty company’s revenue and profit “and used

those loan proceeds to maintain the 46th Street and 54th Street properties” (“the

2006 transactions”); and (4) in 2007, O’Brien and Bartko “agreed that O’Brien

would sell the 46th Street and 54th Street properties to Bartko” using “a straw

buyer whom O’Brien and Bartko knew would be fraudulently qualified for mortgage

loans” (“the 2007 transactions”). R. 1 at 4-7.

      In its order denying O’Brien’s motion to dismiss on duplicity grounds, the

Court found that “the common elements between the transactions alleged [in the

indictment] [we]re: (1) they all involved at least one of a pair of investment

properties in Chicago’s south side; (2) they all involved O’Brien; (3) they all involved

lies in loan documents; (4) they all involved the same class of victims (lenders); and

(5) they all involved the same goals (obtaining financing related to the two

investment properties and personal enrichment).” R. 116 at 9-10. Additionally, all

the transactions occurred over a period of time (three years) that courts have found

sufficiently discrete to be part of a single scheme. Id. at 17-18.

      At trial, the Court instructed the jury that the government had to prove “a

scheme to defraud” beyond a reasonable doubt with respect to each count. R. 229 at

21-22. Consistent with this Court’s holdings on the duplicity motion, the

government described the scheme at closing as follows: “From 2004 to 2007, the

scheme was to get money from lenders through lies and concealment, all related to



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those two investment properties.” Tr. 1196.3 The government explained that

O’Brien was at the “center of this scheme to defraud.” Tr. 1197. The jury convicted

O’Brien, thus finding the scheme element satisfied beyond a reasonable doubt.

        Substantial evidence supported the jury’s conclusion, including:

       Evidence that in 2004, O’Brien reported an inaccurate income and concealed
        her biggest liability in a loan application to purchase the 46th Street
        property. E.g., Government Exhibit (“GX”) 46th St. Purchase 2 (O’Brien’s
        2004 loan application claiming $6,800/month in gross income and failing to
        disclose liability for O’Brien and her husband’s South Park property); GX
        ILCOMP 2 (O’Brien reported only $11,500 in wages for 2004); see Tr. 215-28
        (testimony of Angela Miller from the Illinois Department of Revenue
        explaining that O’Brien was on unpaid leave from her job at the Department
        of Revenue from November 2003 until October 2004); GX South Park 2 (April
        2004 mortgage listing O’Brien and her husband as borrowers on South Park
        property); GX 46th St. Refinance 2 (showing O’Brien owed over $249,000 on
        loan for South Park property as of 2005).

       Evidence that in 2005, O’Brien represented her income from her realty
        company (“O’Brien Realty”) inaccurately on loan applications to earn more
        than $100,000 in cash out refinances on her loans on the 46th Street and
        54th Street properties, with Maria Bartko as the loan interviewer. E.g., GX
        46th St. Refinance 2 (2005 loan application for 46th Street refinance claiming
        $20,000 in base monthly employment income from O’Brien Realty; showing
        Maria Bartko as interviewer); GX 54th St. Refinance 2 (2005 loan application
        for 54th Street refinance claiming $20,000 in base monthly employment
        income from O’Brien Realty; showing Maria Bartko as interviewer); GX Tax 3
        (2005 Form 1040X showing $21,000 in gross yearly receipts for O’Brien
        Realty); GX 46th St. Refinance 1 (showing $32,7000 cash going to O’Brien as
        borrower); GX 54th St. Refinance 1 (showing $67,900 cash going to O’Brien as
        borrower).

       Evidence that in 2006, O’Brien misrepresented O’Brien Realty’s revenue,
        profits, and liabilities to obtain a commercial line of credit and commercial
        loan used to pay mortgages and expenses for the 46th Street and 54th Street
        properties. E.g., GX Chase 5 (O’Brien claiming $150,000 in 2005 annual sales
        for O’Brien Realty); GX Chase 6 (O’Brien claiming $100,000 in 2005 profits
        for O’Brien Realty); GX Tax 3 (2005 Form 1040X reflecting $21,000 in gross

3     “Tr.” refers to the consecutively-paginated trial transcript, the eight volumes
of which are available on the docket at R. 255-62.

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        receipts for O’Brien Realty); GX Summary 5 (showing advances on the 2006
        line of credit used to make mortgage payments on the 46th Street and 54th
        Street properties); GX O’Brien 39 (O’Brien’s bank records reflecting advances
        on the 2006 line of credit, with a handwritten circle around numerous
        advances and with the following handwritten note appearing to be a
        description of all the circled advances: “823 W. 54th Street rehab – labor”).

       Evidence that in 2007, O’Brien purported to sell the 46th Street and 54th
        Street properties to a straw buyer named Christopher Kwan, when Bartko
        was the true buyer, and O’Brien paid Bartko money to buy them. E.g., GX
        Acknowledgment 1 & 2 (notarized documents titled “Acknowledgment &
        Agreements Between Christopher Kwan/Maria Bartko (‘Buyers’) and Jessica
        O’Brien (‘Seller’),” which indicate O’Brien’s knowledge of Bartko as a buyer
        (“the acknowledgments”)); GX 46th St. Sale 17 ($36,000 check from O’Brien
        to Bartko with 46th Street address handwritten on top, dated the day before
        the closing and posting seven days after closing); GX 54th St. Sale 9 ($4,000
        check dated the day of the 46th Street closing from O’Brien to Kwan, which
        Kwan endorsed over to Bartko); GX 46th St. Sale 1 (HUD-14 identifying
        Kwan as the buyer for 46th Street property and not acknowledging Bartko as
        a buyer or any payment to Bartko); GX 54th St. Sale 8 ($37,836 check from
        O’Brien to Bartko with 54th Street address handwritten on top, dated the
        day before the closing and posting six days after closing); GX 54th St. Sale 1
        (HUD 1 identifying Kwan as the buyer for 54th Street property and not
        acknowledging Bartko as a buyer or any payment to Bartko); GX CCRD 1
        and 2 (Kwan’s quit claim deeds transferring properties to Bartko soon after
        closing). O’Brien obtained over $200,000 in proceeds from these closings. See
        GX 46th St. Sale 1 (over $57,000 in cash to O’Brien as seller of 46th Street
        property); GX 54th St. Sale 1 (over $165,000 in cash to O’Brien as seller of
        54th Street property).

        A rational juror easily could have found based on this evidence that between

2004 and 2007, O’Brien engaged in a scheme to defraud lenders through lies in loan

documents, all related to her two investment properties. The evidence supported

that O’Brien submitted false loan documents to purchase the properties, to




4      “A HUD-1 form is a Housing and Urban Development settlement form used
in closing a property sale that details the costs and fees associated with a mortgage
loan.” United States v. Bouchard, 828 F.3d 116, 121 n.2 (2d Cir. 2016).

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refinance the properties, to obtain a commercial line of credit in part to cover

expenses for the properties, and to sell the properties.

      O’Brien’s motion for acquittal does not argue that the government failed to

present evidence of the alleged scheme. Instead, she makes a series of arguments

about why the evidence presented did not constitute a scheme as a matter of law, or

why additional evidence was necessary to establish a scheme as a matter of law,

most of which the Court already addressed and rejected in deciding O’Brien’s

duplicity motion. O’Brien also makes arguments regarding the 2007 transactions

that improperly ask the Court to “reassess the weight of the evidence.” Arthur, 582

F.3d at 717.

      First, O’Brien emphasizes that the four transactions “were separated in time;

involved different kinds of alleged false statements; involved different types of

transactions; and involved different lenders.” R. 277 at 13. But the evidence at trial

on these issues tracked the conduct alleged in the indictment. And the Court

already found that the indictment alleged a scheme despite these differences. R. 116

at 9-17.

      Second, O’Brien says there could be no scheme without evidence that O’Brien

“intended, planned, or . . . foresaw the subsequent transactions when she purchased

the 46th Street property in August 2004.” R. 277 at 13; see also R. 288 at 10. As the

Court explained in ruling on O’Brien’s duplicity motion, however, the fact “‘that the

whole scheme was not planned out in advance’” is not “‘significant’” in determining

whether a scheme existed—a scheme can be an “‘imperfectly conceived plan to



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defraud which becomes more and more sophisticated’” over time. R. 116 at 17

(quoting Owens v. United States, 221 F.2d 351, 354 (5th Cir. 1995)).

      Third, O’Brien argues that her presence in each of the transactions alone is

not enough to establish a scheme, citing United States v. Mealy, 851 F.2d 890, 896

(7th Cir. 1988). R. 277 at 17-18. For starters, Mealy addressed the standard for a

“wheel conspiracy.” 851 F.2d at 896. It did not address what constitutes a scheme. A

scheme can be “unified by the presence of the defendant . . . in each alleged act of

fraud.” United States v. Brown, 894 F. Supp. 1150, 1155 (N.D. Ill. 1995) (finding

“the conspiracy cases cited by defendants,” including a case addressing the standard

for a wheel conspiracy, “inapplicable to the government’s instant allegation of a

common scheme of bank fraud”). Moreover, as described above and as the Court

found in its duplicity ruling (R. 116 at 9-17), O’Brien’s presence was far from the

only factor uniting the transactions.

      Fourth, O’Brien maintains that “[t]he government’s decision not to call

Bartko to testify as to any of the transactions . . . precluded the jury from finding

she had any role in any part of the alleged scheme.” R. 277 at 14; see also R. 288 at

6. But the government was not required to introduce certain types of evidence—

namely, Bartko’s testimony—to establish that Bartko played a role in the scheme.

The government introduced significant documentary evidence showing Bartko’s

role, including: (1) the 2005 loan applications identifying Bartko as the

“interviewer” (GX 46th St. Refinance 2; GX 54th St. Refinance 2); (2) the two checks

for more than $70,000 from O’Brien to Bartko listing the two property addresses on



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them and dated the day before the 2007 closings (GX 46th St Sale 17; GX 54th St.

Sale 8); (3) the $4,000 check dated the day of the 2007 closings from O’Brien to

Kwan, which Kwan endorsed over to Bartko (GX 54th St. Sale 9); (4) the

acknowledgments identifying Bartko as a buyer (GX Acknowledgments 1 and 2);

and (5) Kwan’s quit claim deeds transferring the properties to Bartko after the 2007

closings (GX CCRD 1 and 2). The jury reasonably concluded based on this evidence

that Bartko participated in the scheme.

      Fifth, O’Brien emphasizes that the government did not present evidence

showing Bartko’s involvement in the 2004 and 2006 transactions. As this Court

explained in its duplicity ruling, Bartko did not need to know about the 2004 and

2006 transactions for them to be part of a single scheme. R. 116 at 11-12 (citing

United States v. Hollnagel, 2011 WL 3664885, at *11 (N.D. Ill. Aug. 19, 2011)

(rejecting argument that because the indictment did not allege that each defendant

“participated in each of the misrepresentations and transactions, the [indictment]

must allege separate schemes and therefore fails for duplicity,” because in a scheme

(unlike in a conspiracy), each participant “need not know about the existence and

activities of the other co-schemers”); Brown, 894 F. Supp. at 1155 (scheme was

“unified by the presence of the defendant Brown in each alleged act of fraud”; the

fact “that many of the alleged co-schemers were unaware of the existence of a larger

scheme” “is irrelevant to an allegation of a common scheme”)). The jury did not need

to conclude that Bartko participated in each transaction to find a scheme.




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      Sixth, O’Brien argues that the 2006 commercial line of credit transactions

were dissimilar and disconnected from the 2004, 2005, and 2007 transactions. The

Court explained in its duplicity ruling that if the line of credit was used to maintain

or cover expenses for the investment properties, it was sufficiently related to be part

of the scheme. R. 116 at 10-11. O’Brien acknowledges that the government

introduced a summary chart and testimony by Special Agent Donald Kaiser

supporting that at least two of the advances on the commercial line of credit were

related to the properties: “a payment for the 46th Street property in the amount of

$2,457.91 on January 5, 2007, and a mortgage payment for the 54th Street property

in the amount of $1,689.96, also on January 5, 2007.” R. 277 at 15 (citing GX

Summary 5); Tr. 930. The government also introduced O’Brien’s bank records

reflecting advances on the 2006 loan, with a handwritten circle around numerous

advances and with the following handwritten note appearing to be a description of

all the circled advances: “823 W. 54th Street rehab – labor.” GX O’Brien 39. A

rational juror could conclude based on this evidence that the 2006 transactions were

part of the scheme.

      Seventh, O’Brien emphasizes that Citibank was not involved in the 2004,

2005, and 2006 transactions; it was involved only in 2007. But there is no

requirement that the same victim be involved in all of the transactions in a scheme.

To the contrary, as this Court explained in its duplicity ruling, courts have found




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that schemes had an adequate nexus where they involved the same class of victims,

as they did here (lenders). R. 116 at 9-10, 14 (collecting cases).5

        Eighth, O’Brien argues that the 2007 transactions were nothing like the

2004, 2005, and 2006 transactions and so could not constitute part of the same

scheme. According to O’Brien, nothing untoward happened in 2007. O’Brien

emphasizes that according to the government’s own witnesses, O’Brien did not have

access to Kwan’s 2007 loan packages, and Kwan’s loans were originated by a

company different than the company where O’Brien and Bartko worked together. R.

277 at 16. O’Brien therefore argues that “[t]here was zero evidence that Ms. O’Brien

had anything to do with Kwan’s loans.” Id. O’Brien further claims there was no

evidence that Kwan was a straw buyer and not a legitimate buyer.

        These arguments ignore: (1) the HUD-1s for the purchases, which O’Brien

signed and which identified Kwan as the buyer (GX 46th St. Sale 1; GX 54th St.

Sale 1); (2) the acknowledgements signed by O’Brien, Bartko, and Kwan identifying

Bartko as a buyer, contrary to the HUD-1s (Acknowledgment 1 & 2); (3) the checks

5      The Court disagrees with O’Brien that the government’s references to a
scheme to defraud “lenders” throughout the trial “treated lenders as the equivalents
of financial institutions” and allowed the jury to convict based on “a scheme to
defraud ‘lenders.’” R. 288 at 12. The government accurately described the class of
victims of the scheme it alleged as “lenders.” And the jury instructions ensured that
the jury specifically found: (1) that “[t]he scheme affected Citibank, N.A., a financial
institution” for purposes of Count I; and (2) that O’Brien “knowingly executed the
scheme” by causing “Citibank, N.A., a financial institution” to fund a loan for
purposes of Count II. R. 229 at 21-22 (emphasis added). The same reasoning applies
to O’Brien’s complaints about the government’s shorthand references to “Citi” or the
“Citi entities” during trial. The instructions made clear when an element needed to
be proven with respect to Citibank specifically, and O’Brien’s counsel highlighted
these points and the differences between Citibank and CitiMortgage throughout
trial.

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O’Brien wrote to Bartko on the day before the closing with the addresses of the two

properties written on top, which were not disclosed in the HUD-1s (GX 46th St. Sale

17; GX 54th St. Sale 8); and (4) Kwan’s quit claim deeds transferring the properties

to Bartko shortly after closing (GX CCRD 1 and 2). Based on this evidence, the jury

could have reasonably inferred that Kwan was a straw buyer and Bartko was the

true buyer. It also could have reasonably inferred O’Brien’s knowledge of the full

scope of the transactions, especially based on her checks to Bartko. The fact that

neither Bartko nor Kwan testified does not render the jury’s reliance on this

evidence mere speculation, as O’Brien argues. Documentary evidence is not

inherently less valid than testimonial evidence.

        O’Brien’s final challenge to the scheme element really amounts to improper

re-argument of the evidence related to the 2007 transactions in the light most

favorable to O’Brien. This is improper. As explained above, “[s]orting the facts and

inferences is a task for the jury,” Warren, 593 F.3d at 547, and the Court may not

“reassess the weight of the evidence” on a motion for judgment of acquittal.

Arthur, 582 F.3d at 717.6 The government presented sufficient evidence of a scheme

to support O’Brien’s convictions on both counts.




6      This same reasoning forecloses other points O’Brien makes about the 2007
evidence. She claims the checks from O’Brien to Bartko were not kickbacks, as the
government characterized them during trial, because they were written on O’Brien’s
own account, “which is the antithesis of attempting to conceal payments.” R. 277 at
17. O’Brien further argues that O’Brien may not have thought the checks needed to
be disclosed on the HUD-1s because they were not deposited until after closing. Id.
And she emphasizes that the acknowledgements were notarized at closing, meaning
that Bartko’s status as a buyer was disclosed. O’Brien made these arguments to the
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                   b.     Alleged Variance

      O’Brien also says a material variance between the indictment allegations and

the proof at trial related to the scheme element prejudiced her. Specifically, she

maintains that the indictment alleged that O’Brien and Bartko engaged in a scheme

to defraud that began in 2004 and continued until 2007, but the proof at trial

established that Bartko was involved only between 2005 and 2007. R. 277 at 43.

      A variance arises “when the facts proved at trial differ from those alleged in

the indictment.” U.S. v. Scheuneman, 712 F.3d 372, 378 (7th Cir. 2013). A variance

constitutes error only if it “change[s] an essential or material element of the charge

so as to cause prejudice to the defendant.” Id. at 379. An essential or material

element of the crime “is one whose specification with precise accuracy is necessary

to establish the very illegality of the behavior and thus the court’s jurisdiction.”

United States v. Auerbach, 913 F.2d 407, 411 (7th Cir. 1990).

      O’Brien’s variance argument fails on multiple grounds. For starters, it is

questionable whether there was any variance between the indictment and the proof

at trial. Although the indictment contains one sentence broadly characterizing the

scheme as one “[b]eginning in or about 2004, and continuing at least in or about

2007” and involving “JESSICA ARONG O’BRIEN and MARIA BARTKO,” the

detailed allegations in the indictment allege Bartko’s participation only in the 2005

and 2007 transactions. R. 1 ¶¶ 2, 4, 9, 15-22. The evidence at trial was consistent

with those more detailed factual allegations, showing Bartko’s involvement in the

jury, and the jury rejected them. This was not unreasonable. The Court may not
reweigh the evidence.

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2005 and 2007 transactions. See GX 46th St. Refinance 2; GX 54th St. Refinance 2;

GX 45th St. Sale 17; GX 54th St. Sale 8; GX 54th St. Sale 9; Acknowledgments 1

and 2.

         Moreover, even if there was a variance, the Seventh Circuit has rejected the

argument that a variance as to the year the scheme began is material, so long as

the evidence presented still establishes an illegal scheme. In United States v. Andry,

666 F. App’x 550 (7th Cir. 2016), the defendant argued that “there was a material

variance” where “the indictment charged one scheme running from 2008 to 2012,

but . . . the evidence at trial established multiple smaller schemes and that

[defendant] was only involved in the scheme running from February 2010 to 2012.”

Id. at 552-53. The Court found this argument “foreclosed by [its] decision” in United

States v. White, 737 F.3d 1121 (7th Cir. 2014), which held that “‘it is permissible for

the government to proceed on a subset of the allegations in the indictment, proving

a conspiracy smaller than the one alleged, so long as that subset is also illegal.’”

Andry, 666 F. App’x at 552-53 (quoting White, 737 F.3d at 1138).

         Here, like in White, any variance as to when Bartko’s involvement in the

scheme began was not material or prejudicial because the “subset of the allegations”

proven would still be “illegal.” 737 F.3d at 1138. As this Court explained above and

in its duplicity ruling, Bartko did not need to be involved in the 2004 transactions

for the scheme element to be satisfied. See R. 116 at 11-12.




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             2.    Statute of Limitations For Count I: Effect On Financial
                   Institution

                   a.     Sufficiency Of The Evidence

      O’Brien next argues that no rational jury could have found that the scheme

affected a financial institution for purposes of Count I (mail fraud). Because the

government relied on a ten-year statute of limitations to charge Count I when it did,

the government had to establish that “the offense affect[ed] a financial institution.”

18 U.S.C. § 3293(2). “Prior to 2009,” when all the relevant events in this case took

place, “the term ‘financial institution’ was defined to include insured depository

institutions of the FDIC [Federal Deposit Insurance Corporation], but not mortgage

lenders.” Bouchard, 828 F.3d at 124 (citing 18 U.S.C. § 20 (2008)).

      Pursuant to the pre-2009 definition of “financial institution,” Citibank

qualifies as a financial institution, but its loan servicing arm CitiMortgage,

standing alone, does not. See, e.g., Tr. 653-54. For this reason, the parties heavily

contested Citibank’s involvement in the 2007 transactions during pre-trial

proceedings. If Citibank was not affected by the mail fraud charged in Count I, the

default five-year statute of limitations would apply to that charge, and the statute

of limitations would have expired well before the government indicted this case. See

R. 201 at 3-4.

      Based on evidentiary hearing testimony from Judy Taylor, a Citibank vice

president, as well as supporting records documenting Citibank’s funding of at least

one of the 2007 loans (see, e.g., R. 113 at 78-69, 105; R. 148-1, 148-2, 148-3, 148-4,

148-5, 148-6), the Court denied O’Brien’s pre-trial motion to dismiss the indictment

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based on the statute of limitations. R. 201. The Court allowed O’Brien to continue to

pursue discovery from the Citi entities on this issue up until right before trial, when

the Citi entities produced further documents corroborating Taylor’s testimony. See

R. 203-1.

      At trial, the government introduced through Taylor a number of exhibits

illustrating the flow of the money from Citibank to CitiMortgage, funding both a

$292,000 mortgage loan and a $73,000 home equity loan on the 46th Street property

as part of the 2007 sales. Tr. 667-79. Taylor testified that Citibank suffered actual

losses on the 2007 loans. Tr. 677-79. At the conclusion of trial, the Court instructed

the jury that it needed to find for purposes of Count I that “[t]he scheme affected

Citibank, N.A., a financial institution.” R. 229 at 21. It further instructed the jury

that “[f]or purposes of Count One, a scheme affects a financial institution if it

exposes the financial institution to a new or increased risk of loss. A financial

institution need not have actually suffered a loss in order to have been affected by

the scheme.” Id. at 31.

      In her motion for judgment of acquittal, O’Brien maintains that no rational

juror could have found an effect on Citibank as required for the ten-year statute of

limitations in 18 U.S.C. § 3293(2) to apply. The Court disagrees.

      The Seventh Circuit in United States v. Serpico, 320 F.3d 691, 694-95 (7th

Cir. 2003), interpreted the term “affects a financial institution” in 18 U.S.C.

§ 3293(2) broadly, and affirmed use of the same jury instruction the Court gave in

this case. Serpico, 320 F.3d at 694-95 (approving an instruction stating that a



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scheme affects a financial institution if it “exposed the financial institution[ ] to a

new or increased risk of loss. A financial institution need not have actually suffered

a loss in order to have been affected by the scheme.”). Other circuits have likewise

recognized the wide reach of 18 U.S.C. § 3293(2). The Third Circuit rejected the

argument that “a fraud perpetrated against a financial institution’s wholly owned

subsidiary cannot affect the parent” under § 3293(2) as “a clearly untenable

assumption.” United States v. Pelullo, 964 F.2d 193, 215-16 (3d Cir. 1992); accord

United States v. Bouyea, 152 F.3d 192, 195 (2d Cir. 1998) (citing Pelullo to “easily

reject” the argument that defrauding a financial institution’s subsidiary was

insufficient as a matter of law to meet the “affect[ing] a financial institution”

requirement in § 3293(2)).

      The evidence at trial plainly supported the jury’s finding that the scheme

affected Citibank for purposes of Count I. Taylor testified not only that Citibank

incurred a risk of loss, but that the 2007 loans resulted in an actual loss to

Citibank. And Taylor testified not only that CitiMortgage was involved in funding

the loans as Citibank’s “wholly owned subsidiary” (Tr. 741), but that Citibank was

the actual lender on one of the loans, and the funds for both loans came directly

from Citibank. Specifically, Taylor testified that: (1) Citibank was the lender on the

$73,000 loan for the 46th Street sale (Tr. 643); (2) CitiMortgage was the lender on

the $292,000 loan for the 46th Street sale, but the money for that $292,000 loan

came from Citibank (Tr. 643, 656-60); (3) Citibank had to foreclose on the 46th

Street property at a “significant loss” to Citibank (Tr. 677); and (4) the $73,000 loan



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was a complete loss, and the proceeds from the foreclosure sale were insufficient to

cover the remaining balance on the $292,000 loan (Tr. 677-79).

        O’Brien claims that Taylor’s testimony was inadmissible hearsay. It was not.

Rather than offering out-of-court statements for their truth, Taylor testified about

already admitted bank records based on her personal knowledge as a long-time

Citibank employee.

        O’Brien further argues that the bank records regarding the funding of the

loans were “ridiculously confusing” because they “show hundreds of millions of

dollars of transfers, thru all sorts of channels.” R. 277 at 21 n.13. But Taylor walked

the jury through these documents in her testimony, identifying the relevant parts

for the jury. She explained that on the day of closing, the funds went from (a) a

Citibank Treasury account (namely, “Citibank N.A. for USCGB Treasury”7) to (b) a

CitiMortgage account to (c) another CitiMortgage account (a CitiMortgage

Wholesale account) to (d) the settlement agent/title company. Tr. 658-60, 667-74.

The same process took place for both the $292,000 loan and the $73,000 loan. Tr.

660.

        O’Brien says this case is like United States v. Irvin, 682 F.3d 1254 (10th Cir.

2012), where the Tenth Circuit, in the course of upholding a conviction on a bank

fraud count, explained in dicta that defendant “appear[ed]” to be “correct” that a

7       O’Brien points out that Taylor did not know specifically what the acronym
“USCGB” stands for, and guessed it was “U.S. Consumer Banking Group Treasury.”
Tr. 740. But Taylor’s uncertainty about this acronym is beside the point. She
testified unequivocally that the money came from a Citibank account, which is
supported by the fact that the account has “Citibank, N.A.” in the name—i.e.,
“Citibank N.A. for USCGB Treasury.”

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mortgage loan was never owned by a parent financial institution, and instead “was

strictly the property of” the mortgage corporation subsidiary. Id. at 1272. But in

Irvin, the mortgage company subsidiary drew on a line of credit made available by

the parent, bundled loans “into mortgage-backed securities within thirty to forty-

five days of their origination,” sold the loans “to investment banks on the secondary

market,” and then used the proceeds to repay its debts to the parent. Id. The parent

“played no role” in the process. Id. Here, by contrast, the evidence supported direct

involvement by Citibank, including supplying the funds on the day of the closing

and taking the actual losses on the 46th Street loans in 2007.8 In any event, Irvin

addressed the bank fraud statute under 18 U.S.C. § 1344, not the level of proof

required to show an effect on a financial institution for purposes of the ten-year

statute of limitations for mail or wire fraud.

        Finally, O’Brien argues there was no evidence that O’Brien knew her conduct

affected a financial institution. But for purposes of Count I, the government did not

need to prove that O’Brien knew her scheme affected a financial institution. In

United States v. Marr, 760 F.3d 733 (7th Cir. 2014), the Seventh Circuit “join[ed]

the reasoning of [its] sister circuits” in holding that the wire and mail fraud statutes


8      This evidence also distinguishes this case from United States v. Bennett, 621
F.3d 1131 (9th Cir. 2010), another case cited by O’Brien. In Bennett, there was no
evidence that the parent company owned or controlled the subsidiary’s loan assets,
and the Ninth Circuit explained that “a parent corporation does not own the assets
of its wholly-owned subsidiary by virtue of that relationship alone.” Id. at 1136-38.
Here, the government did not rely on the subsidiary-parent relationship alone to
prove that Citibank owned the assets—it introduced Taylor’s testimony and
documents supporting that the funding for the 2007 loans in fact came from the
parent Citibank.

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“only require[ ] the government to prove that a defendant intended for his or her

scheme to defraud someone, a financial institution does not need to be the intended

victim.” Id. at 743-44.9 As such, the Marr court explained that “the government

needed only to prove that Marr’s scheme to defraud affected Palos Bank, not that

Marr intended to defraud Palos Bank.” Id. at 744. The “‘object of the fraud is not an

element of the offense.’” Id. (quoting Pelullo, 964 F.2d at 216). Nor does 18 U.S.C.

§ 3293(2), the ten-year statute of limitations for wire and mail fraud affecting a

financial institution, refer to knowledge or in any way add an element requiring the

defendant to know that a financial institution is affected. The evidence was more

than sufficient for the jury to find an effect on a financial institution satisfying

§ 3293(2).

                     b.    Alleged Vagueness

        O’Brien also makes a vagueness challenge to the “affect[ing] a financial

institution” language in § 3293(2). The Fifth Amendment’s due process clause “gives

rise to the general rule that prohibits the government from imposing sanctions

under a criminal law so vague that it fails to give ordinary people fair notice of the

conduct it punishes, or so standardless that it invites arbitrary enforcement.”

United States v. Coscia, 866 F.3d 782, 791 (7th Cir. 2017), reh’g and suggestion for

reh’g en banc denied (Sept. 5, 2017), cert. denied, 138 S. Ct. 1989 (2018). “To satisfy


9      Although the Marr court addressed the wire fraud statute, 18 U.S.C. § 1343,
its holding applies equally to the mail fraud statute at issue in Count I, 18 U.S.C.
§ 1341. See, e.g., United States v. White, 737 F.3d 1121, 1130 n.4 (7th Cir. 2013)
(“cases construing the mail fraud statute (18 U.S.C. § 1341) are applicable to the
wire fraud statute (18 U.S.C. § 1343),” and vice versa).

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due process, a penal statute [must] define the criminal offense [1] with sufficient

definiteness that ordinary people can understand what conduct is prohibited and [2]

in a manner that does not encourage arbitrary and discriminatory enforcement.”

Skilling v. Unites States, 561 U.S. 358, 402-03 (2010).

      Notably, O’Brien does not point to any case addressing or sustaining a

vagueness challenge to the “affects” provision in § 3293(2). And courts including the

Seventh Circuit have had little trouble interpreting the word “affects” in the

statute. See Serpico, 320 F.3d at 694 (conduct “affects” a financial institution if it

exposes that institution to an “increased risk of loss”); see also, e.g., United States v.

Mullins, 613 F.3d 1273, 1278 (10th Cir. 2010) (“While Congress certainly could have

extended the limitations period only when wire fraud ‘causes a loss’ to a financial

institution, it chose instead to use the considerably broader term “affects.’ And that

means simply to ‘make a material impression on; to act upon, influence, move, touch

or have an effect on,’ I Oxford English Dictionary 211 (2d ed. 1989), or perhaps more

appositely to this case, ‘to have a detrimental influence on,’ Webster’s Third New

International Dictionary 35 (2002).”).

      The cases on which O’Brien relies in support of her argument do not find or

suggest that the word “affects” in § 3293(2) is unconstitutionally vague. To the

contrary, they interpret the word “affects” and set limits on its boundaries. See

United States v. Agne, 214 F.3d 47, 52 (1st Cir. 2000) (explaining that there was no

evidence of even a risk of loss to a financial institution in that case, and “at

minimum there needs to be some impact on the financial institution to support a



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conviction”); United States v. Ubakanma, 215 F.3d 421, 426 (4th Cir. 2000)

(explaining in a case where the government conceded lack of effect on a financial

institution that “a wire fraud offense under section 1343 ‘affected’ a financial

institution only if the institution itself were victimized by the fraud, as opposed to

the scheme’s mere utilization of the financial institution in the transfer of funds”).

      In any event, “[a] plaintiff who engages in some conduct that is clearly

proscribed cannot complain of the vagueness of the law as applied to the conduct of

others.” Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

495 (1982). As the discussion above shows, the evidence at trial supported a finding

by the jury not just of a risk of loss to Citibank or an effect on Citibank through its

mortgage servicing arm CitiMortgage, but an actual loss to Citibank specifically.

O’Brien’s conduct thus clearly fell within the boundaries proscribed by courts for

“affect[ing]” a financial institution, and her vagueness challenge necessarily fails.

             3.     Count II: Sufficiency Of The Evidence

      O’Brien next claims the jury had insufficient evidence to convict her on Count

II. Count II charged O’Brien with both sections of the bank fraud statute. That

statute provides:

      Whoever knowingly executes, or attempts to execute, a scheme or
      artifice—

      (1) to defraud a financial institution; or

      (2) to obtain any of the moneys, funds, credits, assets, or securities, or
      other property owned by, or under the custody or control of, a financial
      institution, by means of false or fraudulent pretenses, representations,
      or promises;



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      shall be fined not more than $1,000,000 or imprisoned not more than
      30 years, or both.

18 U.S.C. § 1344. The Seventh Circuit has confirmed that both sections of § 1344

may be charged in a single count, and it has explained that “proof of any one of

those acts conjunctively charged may support a conviction.” United States v.

LeDonne, 21 F.3d 1418, 1427 (7th Cir. 1994).

                     a.   Intent

      O’Brien first claims lack of proof of intent. As the Supreme Court held in

Loughrin v. United States, 134 S. Ct. 2384 (2014), proof of specific intent to defraud

a financial institution is not required under § 1344(2), but it is required under

§ 1344(1). Id. at 2387-90. For this reason, O’Brien’s threshold argument that she

should be acquitted on Count II because “no rational jury could find that Ms.

O’Brien specifically intended to defraud Citibank, N.A” (R. 277 at 27) is misplaced.

The jury rationally could convict O’Brien under § 1344(2) without finding specific

intent to defraud.

      O’Brien claims that because Bartko and Kwan did not testify and because

O’Brien did not sign the HUD-1 or the note for the $73,000 loan naming Citibank as

the lender, there was insufficient evidence for the jury to find the requisite intent

under either § 1344(1) or § 1344(2). The Court disagrees. A rational jury could have

convicted O’Brien of bank fraud in Count II based under either prong of § 1344.

      Section 1344(2). For purposes of § 1344(2), the government needed to prove

a scheme to defraud with intent to obtain property owned by, or in the custody or

control of, a financial institution by means of false or fraudulent pretenses,

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representations, or promises—it did not need to find specific intent to defraud a

financial institution. Loughrin, 134 S. Ct. at 2389. A reasonable jury could have

inferred O’Brien’s intent to obtain property owned by or in the control of a financial

institution based on evidence regarding the $73,000 loan naming Citibank

(undisputedly a financial institution) as the lender. Although O’Brien did not sign

the HUD-1 or the note for the $73,000 loan (GX 46th St. Sale 2; GX 46th St. Sale 7)

and Kwan and Bartko did not testify, a reasonable jury could have inferred

O’Brien’s knowledge of that loan and its funding based on the documentary

evidence. The HUD-1 that O’Brien did sign, for the $292,000 loan, also listed the

$73,000 loan. GX 46th St. Sale 1. The loans closed on the same day, had the same

closer, and O’Brien was present as the seller. Additionally, according to the HUD-

1s, O’Brien acted as the seller’s attorney for both the 46th and 54th Street sales and

prepared corresponding closing statements. GX O’Brien 8 and 9.

      O’Brien emphasizes that testimony supported that O’Brien would not have

seen Kwan’s loan documents themselves. Tr. 587, 732. But O’Brien’s status as the

seller’s attorney and her signature on the HUD-1 listing the $73,000 loan, along

with the acknowledgments and checks suggesting that O’Brien knew that Bartko

was a buyer and paid Bartko money to buy the properties, allowed the jury to draw

the inference that O’Brien had intimate knowledge of the 2007 transactions’ nature,

including the funding of the $73,000 loan by Citibank. Such an inference would

support a finding that O’Brien intended to obtain property owned by or in the

custody or control of Citibank.



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         The jury also could have found that O’Brien had intended to obtain property

owned by or in the custody or control of Citibank based on the evidence regarding

the $292,000 loan. It is true that the HUD-1 for the $292,000 loan identified

CitiMortgage—not Citibank—as the lender (GX 46th St. Sale 1); the title

commitment form said the same (Defense Exhibit 70). But Taylor testified that

Citibank ultimately funded this loan. Tr. 643, 656-60, 677. The jury could have

inferred O’Brien’s familiarity with Citibank and CitiMortgage as its loan servicing

arm based on the ample evidence at trial regarding O’Brien’s background as a

licensed loan originator, a licensed real estate broker, the owner of a licensed real

estate company, and a licensed attorney. And the evidence showed that O’Brien had

significant prior experience with Citibank in particular. Taylor testified that

Citibank purchased O’Brien’s loan on the 46th Street property as a successor lender

and required O’Brien to sign an updated Uniform Residential Loan Application

when it did. See GX 46th St. Purchase 1-10; Tr. 705-23. All of this evidence would

have allowed a reasonable juror to infer that O’Brien understood that the

fraudulently-obtained funds used to fund the $292,000 loan ultimately were owned

by or in the custody or control of Citibank, and that she intended to obtain those

funds.

         O’Brien relies on the Second Circuit’s decision in Bouchard, 828 F.3d 116, in

support of her argument that the evidence was insufficient for the jury to infer that

O’Brien intended to obtain Citibank property. In Bouchard, the Second Circuit

found a lack of evidence satisfying § 1344(2) where the evidence showed that the



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defendant knew about the mortgage company’s involvement, but not about the

parent bank’s involvement, and the offenses occurred before the 2009 amendments

to the definition of “financial institution” to include mortgage companies. 828 F.3d

at 126-27. But as the Bouchard court explained, “the Government might have been

able to prove that Bouchard knew that money from mortgage lenders came from

banks by virtue of his knowledge of the industry.” Id. at 127. In that case, the

government presented no such proof. Id. Additionally, Bouchard involved entities

without an obvious corporate relationship: a mortgage broker named BNC that was

owned by Lehman Brothers, a financial institution. Id. at 120.

      Here, unlike in Bouchard, the government presented evidence of and

emphasized throughout trial O’Brien’s considerable knowledge of the industry. And

this case involves entities with an obvious corporate relationship: Citibank and

CitiMortgage.

      The Eleventh Circuit recently distinguished Bouchard and affirmed a

conviction under § 1344(2) in a case similar to this one. See United States v.

Rabuffo, 716 F. App’x 888 (11th Cir. 2017). In Rabuffo, the defendant was charged

under both clauses of § 1344, and the evidence at trial showed that the fraud

scheme was aimed at SunTrust Mortgage. Id. at 897. Like here and in Bouchard,

the loans in Rabuffo occurred before Congress amended the bank fraud statute to

specify that the mortgage companies qualified as “financial institutions.” Id. The

Eleventh Circuit found the evidence sufficient to support the conviction where, like

here but unlike in Bouchard, the evidence supported that the defendant was



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“experienced” in the real estate industry. Id. at 898. The court explained that

“defendant’s experience, involvement in the scheme, and interactions with

SunTrust Bank presented sufficient evidence that he was aware that the scheme

would affect SunTrust.” Id. at 899. Moreover, because “the name[ ] of the wholly-

owned subsidiar[y] at issue [SunTrust Mortgage] w[as] substantially similar to the[

] parent financial institution [SunTrust Bank],” it was “reasonable to infer . . . that

the [d]efendant[ ] w[as] aware that the fraudulently obtained funds were owned or

were under the custody or control of the parent financial institution[ ].” Id.

      Like in Rabuffo, a rational jury could have inferred based on O’Brien’s

involvement in the scheme, her industry knowledge, her experience with Citibank

specifically, and the similarity in the Citibank and CitiMortgage names, that

O’Brien knew that the funds for either the $73,000 loan, the $292,000 loan, or both,

were owned by or in the custody or control of the parent financial institution

Citibank. A rational jury therefore could have found the requisite intent by O’Brien

to obtain that property under § 1344(2) through her involvement in the 2007 loans.

      Section 1344(1). A rational jury also could have found that O’Brien had the

requisite specific intent to defraud a financial institution required under § 1344(1).

See Loughrin, 134 S. Ct. at 2387-90. “The ‘scheme to defraud’ clause of Section

1344(1) is to be interpreted broadly.” United States v. Brandon, 298 F.3d 307, 311

(4th Cir. 2002). Evidence that the defendant intentionally exposed a financial

institution to a risk of loss is “one way of establishing intent to defraud” a financial




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institution for purposes of § 1344(1). United States v. Hoglund, 178 F.3d 410, 413

(6th Cir. 1999).

      The same reasoning described above with respect to § 1344(2) could have led

a reasonable jury to make the further inference that O’Brien specifically intended to

expose a financial institution (Citibank) to a risk of loss under § 1344(1). The

government’s basic proof on both §§ 1344(1) and (2) was the same. See also

Loughrin, 134 S. Ct. at 2390 n.4 (“the overlap between the two clauses [of Section

1344] is substantial”).

      Specifically, based on O’Brien’s signature on the HUD-1 for the $292,000 loan

disclosing the $73,000 loan and her close involvement in the transaction as seller

and seller’s attorney, the jury could infer that she knew Citibank was the lender on

the $73,000 loan and specifically intended to expose Citibank to a risk of loss. Or,

based on O’Brien’s signature on the HUD-1 for the $292,000 loan, the jury could

infer that O’Brien specifically intended to expose CitiMortgage to a risk of loss. And

based on the evidence of O’Brien’s knowledge of the industry and prior experience

with Citibank, combined with the similarity in the names of Citibank and

CitiMortgage, the jury could have inferred that O’Brien also specifically intended to

expose Citibank to a risk of loss through that transaction. See, e.g., United States v.

Edelkind, 467 F.3d 791, 797-98 (1st Cir. 2006) (§ 1344(1) applied to a scheme where

the defendant fraudulently obtained a loan from an uninsured subsidiary of an

insured bank in an “integrated transaction” where the bank was to purchase the




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loan after its issuance, even if the defendant did not know about the arrangement

for the later purchase of the loan).

      O’Brien again points to Bouchard, where the Second Circuit found

insufficient evidence under § 1344(1) because the fraud was directed at BNC, a

wholly owned subsidiary of Lehman Brothers. 828 F.3d at 124-26. The Second

Circuit explained that “a defendant cannot be convicted of violating § 1344(1)

merely because he intends to defraud an entity, like BNC, that is not covered by the

statute.” Id. at 125. But in Bouchard, the government “concede[d] there was no

evidence that [the defendant] specifically intended to defraud Lehman Brothers” or

was aware of its role. Id. at 124. Here, by contrast, the evidence described above

could have supported the inference that O’Brien knew about Citibank’s role and

thus specifically intended to cause a risk of loss to Citibank.

                    b.     Causation of Execution

      Relatedly, O’Brien argues there was insufficient evidence for a rational jury

to find that O’Brien caused Citibank to fund the $73,000 loan. The Court instructed

the jury that it had to find, for purposes of Count II, that O’Brien “on or about April

16, 2007, caus[ed] Citibank, N.A., a financial institution, to fund a mortgage loan in

the amount of approximately $73,000 for the purchase of the 625 West 46th Street,

Chicago, Illinois.” R. 229 at 22. O’Brien says the fact that O’Brien did not sign the

HUD-1 for the $73,000 loan means there was a failure of proof on this issue. As

O’Brien acknowledges, however, “[t]he HUD-1 that Ms. O’Brien and Kwan both

signed included both loan amounts of $292,000 and $73,000.” R. 277 at 35



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(emphasis in original). And Taylor testified that Citibank in fact funded the $73,000

loan as part of the 2007 purchase of the 46th Street property. Thus, there was

sufficient evidence for the jury to infer that O’Brien’s sale of her 46th Street

property caused Citibank to fund the $73,000 loan.

II.   Motion for a New Trial

      A.     Standard

      Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s

motion, the court may vacate any judgment and grant a new trial if the interest of

justice so requires.” “[C]ourts have interpreted [Rule 33] to require a new trial in

the interests of justice in a variety of situations in which the substantial rights of

the defendant have been jeopardized by errors or omissions during trial.” United

States v. Eberhart, 388 F.3d 1043, 1048 (7th Cir. 2004), overruled on other

grounds, 546 U.S. 12 (2005). “A jury verdict in a criminal case is not to be

overturned lightly, and therefore a Rule 33 motion is not to be granted lightly.” Id.

The court may grant a new trial if the jury’s “verdict is so contrary to the weight of

the evidence that a new trial is required in the interest of justice.” United States v.

Washington, 184 F.3d 653, 657 (7th Cir. 1999). Put another way, “[t]he court should

grant a motion for a new trial only if the evidence preponderate[s] heavily against

the verdict, such that it would be a miscarriage of justice to let the verdict

stand.” United States v. Swan, 486 F.3d 260, 266 (7th Cir. 2007). “In order to receive

a new trial based on erroneous instructions, a defendant must show both that the

instruction did not adequately state the law and that the error was prejudicial to



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[her] because the jury was likely to be confused or misled.” United States v.

White, 443 F.3d 582, 587 (7th Cir. 2006).

         B.    Application10

         O’Brien makes four basic arguments in her motion for a new trial. First,

O’Brien says the instructions allowed the jury to convict her based on conduct

outside the statute of limitations. Second, O’Brien maintains that all of the evidence

regarding the 2004, 2005, and 2006 transactions was inadmissible propensity

evidence under Federal Rule of Evidence 404(b). Third, O’Brien challenges the

pattern instructions the Court gave with respect to the intent element of Count II.

And fourth, O’Brien challenges the Court’s decision to admit the quit claim deeds

transferring the investment properties from Kwan to Bartko shortly after the 2007

closings.

               1.     Statute Of Limitations And Scheme

         O’Brien’s motion for a new trial begins with a convoluted argument that

primarily pertains to Count II (bank fraud). O’Brien focuses on the fact that bank

fraud is complete upon each execution and is not a continuing offense. E.g., United

States v. Anderson, 188 F.3d 886, 888 (7th Cir. 1999). She notes that any pre-2007

executions of bank fraud were therefore “completed offenses long before the [2007]

sales.” R. 277 at 46. She then emphasizes that the Court instructed the jury that it

had to find at least one “materially false or fraudulent pretense, representation, or

10    In addition to the specific grounds on which she moves for a new trial,
O’Brien asks to preserve her pre-trial motions to dismiss the indictment denied by
the Court (R. 45; R. 131; R. 139; R. 141; R. 214). R. 277 at 44. Those motions are
preserved.

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promise” charged in the indictment to convict her of bank fraud (and mail fraud as

well), but that it did not need to find all of them. R. 229 at 21-22, 25, 32. O’Brien

explains that the jury therefore could have convicted her of bank fraud by finding

that she made a false statement in a 2004, 2005, or 2006 execution of bank fraud,

and not necessarily the 2007 execution of bank fraud. O’Brien maintains that “the

jury [instead] should have been instructed that it had to find a materially false or

fraudulent pretense, representation, or promise occurred after April 11, 2007.” R.

288 at 31. Otherwise, she says, “the indictment and instructions allowed Ms.

O’Brien to be convicted for conduct that was barred by the statute of limitations.” R.

277 at 51.

      This argument can be broken down into several parts. First, there is the legal

question of what conduct must fall within a statute of limitations in order to bring

an entire scheme within the statute of limitations, and in particular a bank fraud

scheme for which each execution is a complete crime. The Seventh Circuit answered

this question in United States v. Longfellow, 43 F.3d 318, 319-25 (7th Cir. 1994), a

case addressing an indictment charging multiple executions of bank fraud as part of

a single scheme. The defendant in Longfellow made a series of improper loans to

individuals so they could purchase the defendant’s land. Id. at 319. Although all of

the original loans occurred more than five years before the defendant was indicted,

outside the limitations period, the defendant refinanced one of the loans within the

limitations period, and the government charged that refinancing as an execution of

the defendant’s scheme to defraud. Id. at 322. The Seventh Circuit held that the



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charging of one execution within the statute of limitations brings the entire scheme

within the statute of limitations. Id. at 322-24. The fact that “only one or two

executions fell within the Statute of Limitations,” did “not detract from the entire

pattern of loans[ ] being a scheme, and render[ed defendant] no less culpable for

that entire scheme.” Id. at 322-25.11

         The Seventh Circuit did not find it to be a problem in Longfellow that prior,

complete executions of bank fraud outside the statute of limitations were charged as

part of a single scheme. And for good reason. As the Court explained in its duplicity

ruling, “‘an act which can be viewed as an independent execution of a scheme’ and

thus charged as a separate count,” as each execution of bank fraud could be, “does

not need to be charged in a separate count.” R. 116 at 5 (quoting United States v.

King, 200 F.3d 1207, 1213 (9th Cir. 1999)); see also United States v. Hammen, 977

F.2d 379, 383 (7th Cir. 1992) (in the context of mail and bank fraud, explaining that

although “for each count of conviction, there must be an execution,” “the law does

not require the converse: each execution need not give rise to a charge in the


11     O’Brien’s attempts to distinguish Longfellow are misplaced. She says
Longfellow involved the “same victim” “suffering through a unitary, continuing
course of conduct,” and this case did not. R. 288 at 30. But this Court already has
explained above and in its duplicity ruling why the various transactions did not
need to involve the same victim to be part of a single scheme. O’Brien further
emphasizes that Longfellow explained that the execution falling within the statute
of limitations had to be “a separate act that created a new risk” for the bank. 43
F.3d at 325. She says the 2004, 2005, and 2006 transactions did not place Citibank
at a new risk of loss because they involved different lenders. But as Longfellow
shows, what matters is that the execution falling within the statute of limitations
was a separate act exposing Citibank to a new risk of loss. And again, Taylor’s
testimony supported that the 2007 executions not only placed Citibank at a risk of
loss but caused Citibank to suffer an actual loss.

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indictment”). In other words, “[i]f several fraudulent executions are part of the same

scheme, the government . . . has discretion to (a) charge each execution in a

separate count or (b) ‘allege only one execution of an ongoing scheme that was

executed numerous times.’” R. 116 at 5 (quoting Hammen, 977 F.2d at 383). Thus,

as this Court concluded in its duplicity ruling, the government properly charged

only one “execution” of the scheme in each of Counts I and II—the 2007 executions

with respect to the 46th Street loans. Id. at 4-6 (citing R. 1 at 9, 10). And the fact

that these executions fell within the statute of limitations brings the entire scheme

within the statute of limitations. Id.

      O’Brien’s reliance on Anderson, 188 F.3d 886, and United States v. Yashar,

166 F.3d 873, 880 (7th Cir. 2009), in support of her contrary argument is misplaced.

In Anderson, the Seventh Circuit reversed a bank fraud conviction because the

entire fraud was complete prior to the expiration of the statute of limitations; no

“execution” occurred within the statute of limitations. 188 F.3d at 891. In Yashar,

the Seventh Circuit explained that for a non-continuing offense, the limitations

period begins to run when all elements of the offense are established; “if all

elements of the crime were met” prior to the statute of limitations cut off, then the

indictment would not be timely, but if “a necessary element of the offense” took

place within the limitations period, the indictment would be timely. 166 F.3d at

878-80. Here, the indictment charged an execution of bank fraud—i.e., a necessary

element of the bank fraud scheme charged—within the statute of limitations.




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      The second question embedded in O’Brien’s argument is whether the jury

instructions accurately reflected the law just recited and ensured that the jury

convicted O’Brien based on an execution falling within the statute of limitations.

They did.

      To ensure that the jury convicted O’Brien based on the 2007 executions

falling within the statute of limitations, the Court added the execution language

from the indictment to the pattern elements instructions for mail and bank fraud.

See R. 229 at 21 (instructing the jury on Count I that it had to find that “for the

purpose of carrying out the scheme or attempting to do so, the defendant caused the

use of a commercial interstate carrier in the manner charged in Count One,

specifically, on or about April 16, 2007, caused to be deposited, to be sent and

delivered by commercial interstate carrier, an envelope containing a payoff check

relating to the purchase of the property located at 625 West 46th Street, Chicago,

Illinois”); R. 229 at 22 (instructing the jury on Count II that it had to find “[t]he

defendant knowingly executed the scheme by, on or about April 16, 2007 causing

Citibank, N.A., a financial institution, to fund a mortgage loan in the amount of

approximately $73,000 for the purchase of 625 West 46th Street, Chicago, Illinois”).

These instructions made sure that the jury did not convict O’Brien based on 2004,

2005, or 2006 executions of the alleged scheme, and therefore addressed her statute

of limitations concerns. See Sorich v. United States, 709 F.3d 670, 677 (7th Cir.

2013) (“we presume that a jury follows its instructions”).




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       The third question embedded in O’Brien’s argument is whether the Court

properly instructed the jury with respect to the bank fraud count under 18 U.S.C.

§ 1344 that:

       For purposes of Count Two . . . [i]n considering whether the
       government has proven a scheme to obtain moneys, funds, assets, or
       other property from a financial institution by means of false pretenses,
       representations, promises, or concealment of material facts, the
       government must prove at least one of the false pretenses,
       representations, promises, or concealment of material facts charged in
       the portion of the indictment describing the scheme beyond a
       reasonable doubt. However, the government is not required to prove all
       of them.

R. 229 at 32. This instruction is based verbatim on the Seventh Circuit’s pattern

instruction for “18 U.S.C. § 1344 – Multiple False Statements Charged” (except that

the Court added the words “beyond a reasonable doubt” at O’Brien’s request). See

Seventh Circuit Pattern Criminal Jury Instructions (2012), p. 414. The Seventh

Circuit “presume[s] that the Pattern Criminal Jury Instructions for the Seventh

Circuit correctly state the law.” Marr, 760 F.3d at 744. And O’Brien has not cited

any case supporting that this is an incorrect statement of the law. In other words,

as long as the jury found a scheme and an execution of that scheme within the

statute of limitations, it needed to find only one of the false statements charged as

part of the scheme beyond a reasonable doubt. It did not need to find a false

statement with respect to the execution falling within the statute of limitations

specifically.

       In sum, the entire bank fraud scheme in Count II (and the mail fraud scheme

in Count I) fell within the statute of limitations as long as the jury found a scheme



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and an execution of the scheme within the statute of limitations. The jury

instructions ensured that it did. And the Court properly instructed the jury,

pursuant to the Seventh Circuit’s pattern instruction, that it had to find only one

false representation or promise alleged in the scheme beyond a reasonable doubt—

not all of them and not any one of them in particular.

             2.    Rule 404(b) Evidence

      O’Brien further argues that all of the evidence offered related to the 2004,

2005, and 2006 transactions was inadmissible propensity evidence under Federal

Rule of Evidence 404(b). But as the Seventh Circuit explained in United States v.

Ferrell, 816 F.3d 433 (7th Cir. 2015), “Rule 404(b) does not apply to direct evidence

of the crime charged.” Id. at 443 (citing United States v. Adams, 628 F.3d 407, 414

(7th Cir. 2010) (“[I]f the evidence is admitted as direct evidence of the charged

offense, Rule 404(b) is not applicable. Specifically, evidence directly pertaining to

the defendant’s role in a charged conspiracy is not excluded by Rule 404(b).”).

      Here, evidence of the 2004, 2005, and 2006 transactions was not other acts

evidence for purposes of Fed. R. Evid. 404(b). It was evidence of charged crimes—

namely, evidence of the 2004, 2005, and 2006 transactions that the Court has

already found were properly included as part of the scheme to defraud. There was

therefore no need for the Court to undertake a Rule 404(b) analysis.

      O’Brien says she was “prejudice[d]” by the fact that the Court never had to

undertake a Rule 404(b) analysis. R. 288 at 32. She made the same argument in her

duplicity motion to dismiss. See R. 116 at 22 (O’Brien argued that “the indictment



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prejudices her by allowing time-barred evidence to be admitted as probative of a

scheme that this Court otherwise may not admit under . . . [Rule 404(b)]”). And this

Court found that it was within the government’s discretion to proceed the way it

did. Id. at 3-23. The Court noted that other courts have admitted evidence of

transactions outside the statute of limitations as scheme evidence. R. 116 at 22-23

(citing United States v. Grossi, 1995 WL 571417, at *4 (N.D. Ill. Sept. 25, 1995;

Hollnagel, 2011 WL 3664885, at *12). A case on which O’Brien relies, United States

v. Wellman, 830 F.2d 1453 (7th Cir. 1987), likewise explained that conduct outside

the statute of limitations “was highly relevant to the existence of the very same

scheme to defraud which the mailings in this case were alleged to have furthered.”

Id. at 1464. The Wellman court alternatively explained that the evidence went to

the issue of intent, meaning that it would have been properly admitted under Rule

404(b) in any event. Id. The Court makes the same alternative finding here.

              3.     Intent Instructions for Count II

       O’Brien next objects to the intent component of the Court’s elements

instruction on Count II for bank fraud. That instruction told the jury, in relevant

part, that it had to find:

       1. There was a scheme to defraud a financial institution or to obtain
       moneys and property owned by, or in the custody or control of, a
       financial institution by means of false or fraudulent pretenses,
       representations or promises as charged in Count Two of the
       indictment; and . . .

       3. The defendant acted with the intent to defraud; . . .




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R. 229 at 22. That instruction, including the intent element, was based verbatim on

the Seventh Circuit pattern elements instruction for bank fraud under 18 U.S.C.

§ 1344. Seventh Circuit Pattern Criminal Jury Instructions (2012), p. 411 (“18

U.S.C. § 1344 Financial Institution Fraud – Elements”). Again, the Seventh Circuit

“presume[s] that the Pattern Criminal Jury Instructions for the Seventh Circuit

correctly state the law.” Marr, 760 F.3d at 744.

      O’Brien argues that the intent instruction did not properly account for

Loughrin’s holding that the intent requirement is different under § 1344(1) than

under § 1344(2)—i.e., § 1344(1) requires specific intent to defraud a financial

institution, but § 1344(2) does not. 134 S. Ct. 2384. The Court disagrees.

      Jury instructions are reviewed “as a whole to determine whether they fairly

and accurately summarize the law.” United States v. Grady, 746 F.3d 846, 848 (7th

Cir. 2014). And here, the combination of several intent-related instructions given by

the Court on Count II—i.e., the Seventh Circuit pattern elements instruction for

bank fraud under 18 U.S.C. § 1344, combined with the Seventh Circuit pattern

instruction for the “Scheme – Definition” under 18 U.S.C. § 1344—fairly and

accurately summarized the law.

      Although part 3 of the elements instruction described the third element of

bank fraud more generally as “the defendant acted with the intent to defraud,” part

1 told the jury that it had to find “a scheme to defraud a financial institution [i.e.,

the language of § 1344(1)] or to obtain moneys and property owned by, or in the

custody or control of, a financial institution by means of false or fraudulent



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pretenses, representations or promises [i.e., the language of § 1344(2)]. R. 229 at 22

(emphasis added). And the “Scheme – Definition” instruction defined “scheme to

defraud a financial institution” (i.e., for purposes of § 1344(1)) with the requisite

element of specific intent:

         For purposes of Count Two, . . . A scheme to defraud a financial
         institution means a plan or course of action intended to deceive or
         cheat that financial institution or to obtain money or property or to
         cause the potential loss of money or property by the financial
         institution.

Id. at 32; see Seventh Circuit Pattern Criminal Jury Instructions (2012), p. 413 (“18

U.S.C. § 1344 Scheme – Definition). The Committee Comment for this instruction

explains that this paragraph “should be given in a case in which a scheme to

defraud a bank [under § 1344(1)] is charged.” Id. (committee comment). The

“Scheme – Definition” instruction thus ensured that if the jury found a “scheme to

defraud a financial institution” as required for § 1344(1), it also had to find the

requisite specific intent.12

         O’Brien notes that, based on Loughrin, the Seventh Circuit has proposed—

but not yet adopted—new, separate bank fraud instructions for §§ 1344(1) and (2).

See Proposed Revisions to Seventh Circuit Criminal Jury Instructions (“18 U.S.C. §

1344(1) Scheme to Defraud A Financial Institution – Elements”; “18 U.S.C. §

1344(1) Scheme to Defraud – Definition”; “18 U.S.C. § 1344(2) Obtaining Bank

Property By False Or Fraudulent Pretenses – Elements”; “18 U.S.C. § 1344(2)

12     O’Brien says the jury could have potentially disregarded everything prior to
the “disjunctive ‘or’” in this instruction and therefore not found the requisite intent.
R. 288 at 34. But the Court presumes that the jury follows the plain language of
jury instructions. See Sorich, 709 F.3d at 677.

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Scheme to Defraud – Definition”) (available at http://www.ca7.uscourts.gov/pattern-

jury instructions/2016_proposed_changes_to _CrimCivil_Jury_Instructions.pdf). But

as the Committee Comment explains, these separate instructions are designed to

account for Lougrin’s “h[olding] that the Government need not prove that a

defendant charged under 18 U.S.C. § 1344(2) intended to defraud the bank or

financial institution.” Id. (“18 U.S.C. § 1344(1) Scheme to Defraud A Financial

Institution – Elements,” committee comment) (emphasis added). It is for this reason

that “the Committee has divided the previous unified instruction for § 1344 into two

separate instructions.” Id. In other words, the Committee has proposed revising the

pattern instructions to make the government’s lesser burden of proof under

§ 1344(2) clear.

      The proposed revisions include a “18 U.S.C. § 1344(1) Scheme to Defraud –

Definition” instruction regarding intent that is identical to the instruction the Court

gave, proscribing the requisite specific intent for “a scheme to defraud a financial

institution” under § 1344(1). Id. (“18 U.S.C. § 1344(1) Scheme to Defraud –

Definition”). Although the proposed pattern instructions separating out § 1344(1)

and § 1344(2) may be clearer, they in no way support that the current, pattern

instructions the Court gave misstated the law. If anything, the current instructions

might have prejudiced the government, because the proposed separate instructions

make clear that specific intent is not required under § 1344(2). In any event, the

pattern instructions given did not prejudice O’Brien. See White, 443 F.3d at 587

(new trial appropriate only when instructions caused prejudice).



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      Finally, O’Brien takes issue with the government’s statement to the jury at

closing that the third element of bank fraud was “I think . . . identical” to the intent

element of mail fraud, Tr. 1195, without clarifying the different intent levels

required under § 1344(1) and § 1344(2). The government immediately thereafter

emphasized that it was speaking in general terms. Tr. 1195 (clarifying that the

intent and other elements of mail fraud “are generally consistent with Count II”).

And the government’s main point in this discussion was that its “proof [wa]s the

same” and “overlap[ping]” on this and certain other elements of Counts I and II, so

it planned “to discuss them together.” Id. The government later clarified that “[t]he

defendant acted with intent to defraud if the defendant acts knowingly and with

intent to deceive or cheat the victim in order to cause a gain or money or property to

the defendant.” Tr. 1197 (emphasis added). Read in context, the government’s

discussion of intent in its closing statement did not prejudicially mislead the jury.

             4.     Admission Of Quit Claim Deeds

      Finally, O’Brien claims the Court erred in admitting into evidence the quit

claim deeds transferring the properties from Kwan to Bartko shortly after the 2007

closings (GX CCRD 1 and 2). O’Brien argues that the deeds were hearsay, lacked

foundation without a witness’s testimony introducing them, and were irrelevant

because there was no evidence O’Brien knew about them. The Court disagrees.

      The deeds were not hearsay or offered without foundation. Deeds are

“[s]tatements in documents affecting an interest in property” that “fall within an

exception to the hearsay rule.” Doss v. Clearwater Title Co., 551 F.3d 634, 640 (7th



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Cir. 2008) (citing Fed. R. Civ. 803(15)). And the government obtained certified

copies of the deeds from the Cook County Recorder of Deeds Office, which are self-

authenticating. See Fed. R. Evid. 902 (certified copies of public records are self-

authenticating; a witness is not needed).

      And the deeds were relevant regardless of whether O’Brien knew about them.

The indictment alleged, and the government offered proof at trial, that Bartko was

the true buyer of O’Brien’s properties in 2007, and Kwan was merely a straw buyer.

The quit claim deeds supported this position by showing that the properties were

deeded over from Kwan to Bartko very soon after the closings.

      Finally, O’Brien says that because the Court admitted the quit claim deeds,

O’Brien should have been allowed to introduce evidence that Kwan quit-claimed a

property in Skokie to Bartko on another occasion. O’Brien sought to introduce this

evidence to support an argument that Kwan and Bartko were involved in their own

separate scheme. Unlike the quit claim deeds that the Court admitted, which

pertained directly to the properties at issue, the quit claim deed O’Brien sought to

introduce involved a different property not at issue in this case. It was therefore

properly excluded as irrelevant.

                                    Conclusion

      For the foregoing reasons, the Court denies O’Brien’s post-trial motions for a

judgment of acquittal or, alternatively, for a new trial [277]. For the same reasons it

denies her post-trial motion for a judgment for acquittal, the Court also denies

O’Brien’s motion for judgment of acquittal filed at the close of the government’s case



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[225], as well as O’Brien’s oral motions for a directed verdict at the close of the

evidence and following the jury charge, which the Court took under advisement (see

R. 230).




                                             ENTERED:

                                             _______________________

                                             Honorable Thomas M. Durkin
                                             United States District Judge


Dated: September 4, 2018




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